          Case MDL No. 3006 Document 1-2 Filed 04/14/21 Page 1 of 3




     BEFORE THE UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT
                              LITIGATION
             MDL-____-In re Tasigna Products Liability Litigation

                              SCHEDULE OF ACTIONS

           Case Captions                Court      Civil Action No.        Judge

Plaintiff:                             W.D. Wa.     3:20-cv-05221      Benjamin H.
Bruce Becker                                                              Settle

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                             W.D. Ar.     2:20-cv-02032      P.K. Holmes
Roger Burke

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                             D. Conn.     3:20-cv-00367      Jeffrey Meyer
Sheila Colella

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                             W.D. Wa.     2:20-cv-01641     Thomas S. Zilly
Debra Craig

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                             M.D.N.C.     1:20-cv-01127     Catherine Eagles
Robin Davis

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                              D.N.J.      2:20-cv-02755      John Vazquez
Charlotte Dean

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                             S.D. Ill.    3:20-cv-00269      J. Phil Gilbert
Allen Garland

Defendant:
Novartis Pharmaceuticals Corporation
          Case MDL No. 3006 Document 1-2 Filed 04/14/21 Page 2 of 3




Plaintiff:                              M.D. Fla.   3:20-cv-00346    Brian Davis
Jeffrey Giancaspro

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiffs:                              D.N.J.     2:20-cv-02753
Teresa Gustin                                                       John Vazquez
Pamela Gustin
Gustin Family Trust

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                              D.N.M.      2:20-cv-00262   James Parker
Ronald Hurd

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                               D.N.D.     3:21-cv-00057   Alice Senechal
Douglas Isaacson

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                              S.D.N.Y.    1:20-cv-02359   Loretta Preska
Stephen Lally

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiffs:                                         8:20-cv-00587   William Jung
Robert Merced                           M.D. Fla.
Estate of Elvia Rivera

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                             W.D. Wash.   3:20-cv-05216   Robert Bryan
Curtis Pederson

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                               D.N.D.     3:20-cv-00123    Peter Welte
Randy Poitra

Defendant:
Novartis Pharmaceuticals Corporation
          Case MDL No. 3006 Document 1-2 Filed 04/14/21 Page 3 of 3




Plaintiffs:                            E.D. Wis.   2:21-cv-00135   J.P. Stadtmueller
Annette Schimming
Estate of Gerald Mielke

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                             M.D. Fla.   2:20-cv-00168       John L.
Ronald Tonge                                                         Badalamenti

Defendant:
Novartis Pharmaceuticals Corporation
Plaintiff:                              D. Md.     1:20-cv-01249       Ellen L.
Robert Witt                                                           Hollander

Defendant:
Novartis Pharmaceuticals Corporation
